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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    MARIAM DAVITASHVILI, ADAM
    BENSIMON, MIA SAPIENZA, PHILIP
    ELIADES, JONATHAN SWABY, JOHN
    BOISI, NATHAN OBEY, and MALIK
    DREWEY, individually and on behalf of all
    others similarly situated,                              Civ. No. l:20-cv-03000-LAK

           Plaintiffs,                                     STIPULATION OF PARTIAL
                                                           VOLUNTARY DISMISSAL
    V.                                                     PURSUANT TO FED. R. CW. P. 41

    GRUBHUB INC., UBER TECHNOLOGIES,
    INC., and POSTMATES INC.,

            Defendants.



           Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), the parties, by their

undersigned counsel, hereby stipulate that Plaintiff Mia Sapienza's claims against Defendants

Grubhub Inc., Uber Technologies, Inc., and Postmates, LLC shall be dismissed without prejudice

and without costs or attorneys' fees to any party. 1 For the avoidance of doubt, this stipulation has

no bearing on the remaining Plaintiffs' claims against Defendants.




1
 The entity fonnerly known as Postmates Inc. was acquired by Uber Technologies, Inc . on
December 1, 2020. Postmates, LLC is a wholly-owned subsidiary of Uber Technologies, Inc.
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Respectfully submitted.
                                      Dated: September 1, 2022


  ~J~
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                                      Inc. and Postmates, LLC




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